       Case 3:15-mc-01241 Document 2 Filed 10/20/15 PageID.3 Page 1 of 5



 1 Jess R. Booth (SBN 245430)
     DUANE MORRIS LLP
 2 750 B Street, Suite 2900
     San Diego, CA 92101
 3 Telephone: (619) 744-2268
     Facsimile: (415) 520-0803
 4 Email:         jrbooth@duanemorris.com
 5 Counsel for AcademyOne, Inc.

 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10

11 COLLEGESOURCE, INC.,
                                                       Case No.: 3:15-MC-01241
12                     Plaintiff,
13        v.                                           NOTICE OF RELATED CASE

14 ACADEMYONE, INC.,

15                     Defendant.
16

17        TO THE COURT AND ALL PARTIES OF RECORD:
18        Pursuant to Local Rule 40.1(f) of the U.S. District Court for the Southern
19 District of California, the undersigned counsel of record for Defendant Academy One,

20 Inc. certifies that the above-captioned action, CollegeSource, Inc. v. AcademyOne,

21 Inc., Case No. 3:15-MC-01241, filed on October 13, 2015 (“New Action”), is related

22 to CollegeSource, Inc. v. AcademyOne, Inc., Case No. 08-CV-1987-GPC (MDD),

23 which was filed on October 27, 2008 and remains pending in this Court (“California

24 Action”).

25        The New Action and the California Action are related because both actions
26 arise out of the same transaction, happening or event. The New Action is a

27 miscellaneous action opened to register a judgment upon a Bill of Costs that

28 AcademyOne obtained against CollegeSource, Inc. in CollegeSource, Inc. v.


                           NOTICE OF RELATED CASE; Case No. 3:15-MC-01241
         Case 3:15-mc-01241 Document 2 Filed 10/20/15 PageID.4 Page 2 of 5



 1 AcademyOne, Inc., Case No. 10-CV-3542 (E.D. Pa.), which was filed on July 20,

 2 2010 in the United States District Court for the Eastern District of Pennsylvania

 3 (“Pennsylvania Action”).

 4          CollegeSource filed two federal cases against AcademyOne arising from the
 5 same facts – the first was the California Action, the other was the Pennsylvania

 6 Action. Both complaints were based on an identical set of facts arising from

 7 AcademyOne’s supposed improper access to and use of CollegeSource’s databases, as

 8 well as purported trademark infringement and false advertising.

 9          On October 25, 2012, in the Pennsylvania Action, the District Court entered
10 judgment against CollegeSource on all of its claims and awarded judgment upon a Bill

11 of Costs in favor of AcademyOne in the amount of $18,944.43. AcademyOne now

12 seeks to execute upon that judgment by registering the judgment in this Court through

13 the New Action.

14          On September 24, 2015, in the California Action, this Court (Honorable
15 Gonzalo P. Curiel) granted AcademyOne’s motion for summary judgment and entered

16 judgment in favor of AcademyOne and against CollegeSource. AcademyOne has

17 filed a Bill of Costs, which is set for hearing on October 29, 2015.

18          Thus, the New Action and the California Action are related.
19          Moreover, assignment of the New Action to the Honorable Gonazlo P. Curiel is
20 likely to effect a saving of judicial effort and other economies. Judge Curiel will hear

21 and rule on AcademyOne’s Bill of Costs in the California Action. AcademyOne will

22 then seek to enforce judgment upon the Bill of Costs in the California Action as well

23 as the judgment upon the Bill of Costs entered in the Pennsylvania Action. To the

24 extent any issues arise with AcademyOne’s enforcement of either judgment, Judge

25 Curiel would be familiar with the parties, factual background, and procedural history.

26 Thus, it would be efficient for the New Action to be related to the California Action

27 and assigned to Judge Curiel.

28 ///

                                                  2
                            NOTICE OF RELATED CASE; Case No. 3:15-MC-01241
      Case 3:15-mc-01241 Document 2 Filed 10/20/15 PageID.5 Page 3 of 5



 1 Dated: October 20, 2015               DUANE MORRIS LLP
 2
                                   By: /s/ Jess R. Booth
 3                                     Jess R. Booth
                                       Counsel for AcademyOne, Inc.
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              3
                        NOTICE OF RELATED CASE; Case No. 3:15-MC-01241
       Case 3:15-mc-01241 Document 2 Filed 10/20/15 PageID.6 Page 4 of 5



 1                              CERTIFICATE OF SERVICE
 2        I am a resident of the state of California, I am over the age of 18 years, and I am
   not a party to this lawsuit. My business address is Duane Morris LLP, 750 B Street,
 3 Suite 2900, San Diego, California 92009. On the date set forth below, I served the
   following document(s):
 4
                               NOTICE OF RELATED CASE
 5
   on the interested party(ies) in this action in the following manner:
 6
   [X] BY MAIL: On the date set forth below, at San Diego California, I placed the
 7 document(s) in a sealed envelope(s), addressed as set forth below, for collection and
   mailing with the United States Postal Service. I am readily familiar with the firm’s
 8 practice for collection and processing of correspondence for mailing with the United
   States Postal Service. According to that practice, the correspondence will be
 9 deposited with the United States Postal Service that same day in the ordinary course of
   business, with first-class prepaid postage thereon.
10
   [X] BY E-MAIL: On the date set forth below, at San Diego, California, I served
11 the foregoing document(s) by e-mail transmission to the e-mail address(es) set forth
   below.
12
     [ ] BY OVERNIGHT DELIVERY: On the date set forth below, at San Diego,
13   California, I placed the document(s) for overnight delivery in a box or location
     regularly maintained by Federal Express (or other express courier service) at my
14   office, or I delivered the document(s) to an authorized courier or driver authorized by
     Federal Express (or other express courier service) to receive documents. The
15   document(s) was(were) placed in a sealed envelope(s) or package(s) designated by
     Federal Express (or other express courier service), with delivery fees paid or provided
16   for, addressed as set forth below to the person(s) to whom the document(s) should be
     delivered, at the office address(es) as last given by that person on any document filed
17   in the cause and served on the party making service; otherwise at that party’s place of
     residence.
18
     [ ] BY PERSONAL DELIVERY: On the date set forth below, at San Diego,
19   California, I placed the above-referenced document(s) in a box or location regularly
     maintained at my office for our messenger/courier service, or I delivered the envelope
20   or package to a courier or driver authorized by our messenger/courier service to
     receive documents. The document(s) was(were) placed in a sealed envelope or
21   package designated by our messenger/courier service with delivery fees paid or
     provided for, addressed to the person(s) on whom it is to be personally served at the
22   address(es) shown below, at the office address(es) as last given by that person on any
     document filed in the cause and served on the party making service; otherwise at that
23   party’s place of residence. The messenger/courier service was provided with
     instructions that the envelope or package be personally served on the addressee(s) by
24   same day delivery.
25

26

27

28

                                                  4
                            NOTICE OF RELATED CASE; Case No. 3:15-MC-01241
       Case 3:15-mc-01241 Document 2 Filed 10/20/15 PageID.7 Page 5 of 5



 1 Attorneys for CollegeSource, Inc.              Attorneys for CollegeSource, Inc.
 2 William F. Woods (87189)                       Darren J. Quinn (149679)
   3510 Front Street, #2F                         Alexander E. Papaefthimiou (236930)
 3 San Diego, CA, 92103                           LAW OFFICES OF DARREN J.
   Tel: 619-742-5000                              QUINN
 4 Email: bill@wfwoods.com                        12702 Via Cortina, Suite 105
                                                  Del Mar, CA 92014
 5                                                Tel: (858) 509-9401
                                                  Email: dq@dqlaw.com
 6

 7          I declare under penalty of perjury under the laws of the United States and the
     State of California that the foregoing is true and correct.
 8
           Executed on October 20, 2015 at San Diego, California.
 9

10                                                    /s/ Megan C. Danbach
                                                      Megan C. Danbach
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  5
                            NOTICE OF RELATED CASE; Case No. 3:15-MC-01241
